Nos. 24-3585
Consolidated with Nos. 24-3444, 24-3450, 24-3451, 24-3527, 24-3619, 24-3621

IN THE UNITED STATES COURT OF APPEALS
FOR THE EIGHTH CIRCUIT

Rhonda Burnett, et al.,
Plaintiff-Appellees,
v.
National Association of Realtors, et al.,
Defendants-Appellees,

7 FILED

Brown Harris Stevens, et al.,

Intervenors-Appellees APR 2 1 2025
Vv U.S. Court of Appeals
Eighth Circuit

Tanya Monestier,

Interested party-Appellant

Appeal from the United States District Court
for the District of Missour1,
Case No. 19-cv-00332 (SRB), Hon. Stephen R. Bough

APPELLANT-OBJECTOR TANYA MONESTIER’S
NOTICE AND MOTION TO APPEAR PRO SE

Tanya Monestier
101 Charleston Ave
Kenmore, NY, 14217

' (401) 644-2383
R E C E i V E D tanyam@buffalo.edu
APR 2.1 205 Pro se
RT OF APPEALS
ist H CIRCUIT

Appellate Case: 24-3585 Page: 1 Date Filed: 04/21/2025 Entry ID: 5508404
COMES NOW the undersigned, Tanya Monestier, and respectfully
notifies the Court of her intention to proceed pro se, and hereby moves
for leave to do so pursuant to applicable federal and Eighth Circuit
procedural rules.

1. The undersigned is currently represented by counsel of record in
this matter but now seeks to proceed without further
representation.

2. I respectfully inform the Court that I am now choosing to proceed
pro se due to an irreparable breakdown in the relationship with my
former counsel. Despite efforts to resolve our differences, we have
been unable to maintain the level of collaboration, professionalism,
and mutual understanding necessary for effective representation.

3. I am voluntarily choosing to represent myself in this appeal. I
affirm that this decision is made knowingly, voluntarily, and with
a full understanding of the responsibilities and obligations required
of parties appearing pro se before this Court.

4. I am prepared to file my brief on April 21, 2025 in accordance with
the Court’s scheduling order and with this Court’s rules for pro se

filers. I will not be asking for an extension of time, and approval of

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my motion to proceed pro se will not cause any prejudice to
appellees.

5. I respectfully request that the Court treat me as a pro se litigant
for purposes of service, filing, and all related matters. I understand
that I am bound by the Federal Rules of Appellate Procedure, the
Eighth Circuit Local Rules, and all applicable deadlines.

6. While I am a licensed, non-practicing attorney and a law professor,
I am not appearing in a representative capacity and am asserting
my individual right to self-representation in this matter.

7. I further request that my counsel of record be permitted to
withdraw from this appeal, and that the Clerk update the docket to

reflect that I will be proceeding without counsel going forward.

WHEREFORE, I respectfully request that the Court grant this motion

and permit me to proceed as a pro se litigant in this matter.

ResveoLy submitted,

Sf eh [reste

Tanya Monestier
Objector-Intervenor-Appellant

Appellate Case: 24-3585 Page:3 Date Filed: 04/21/2025 Entry ID: 5508404
Combined Certifications of Compliance
1. This motion complies with Fed. R. App. P. 27(d)(2)(C) because the
word count is 333 words, excluding the items exempted by Fed. R.
App. P. 32(f).
2. This motion complies with the typeface requirements of Fed. R.
App. P. 32(a)(5) and the typestyle requirements of Fed. R. App. P.
32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word 14-point Century Schoolbook font.

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Certificate of Service
I hereby certify that on April 14, 2025, I mailed a copy of this notice

and motion to the Clerk’s Office.
Dated: April 14, 2025

Tanya Monestier

Appellate Case: 24-3585 Page:5 Date Filed: 04/21/2025 Entry ID: 5508404
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Label 228, March 2018

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